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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE
 Oil Lift Technology Inc.,

             Plaintiff,

    v.                                                  C.A. No. 17-1212-LPS-CJB

 Millennium Oilflow Systems & Technology                JURY TRIAL DEMANDED
 Inc. and Most Oil USA Inc.

             Defendants.


  ORDER GRANTING PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

         Having considered Plaintiff Oil Lift Technology, Inc.’s Motion for a Preliminary

 Injunction, and the submissions filed in support thereof, the Court hereby grants Plaintiffs’

 Motion as follows:

         Defendants Millennium Oilflow Systems & Technology Inc. and Most Oil USA Inc.

 (collectively “MOST”), its officers, agents and servants, employees, attorneys, and all others in

 active concert or participation with it who receive actual notice of the Order are preliminarily

 enjoined during the pendency of this action from making, selling, or offering for sale the

 infringing rod lock clamps in the United States during the pendency of this action, including the

 products MOST identifies on its website (https://mostoil.com/technical-support) as the Rod

 Clamping BOP, Rod Clamping Dual Ram BOP, Rod Clamping Ratigan BOP, and Swivel Rod

 Clamping BOP, or any other products not more than colorably different or that otherwise

 infringe U.S. Patent No. 9,016,362 or U.S. Patent No. 9,322,238.
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       IT IS SO ORDERED this _______ day of _________________, 2018.




                                       Magistrate Judge Christopher A. Burke
